
234 Va. 303 (1987)
 362 S.E.2d 324
 4 VLR 1115
DENNIS L. SATEREN
v.
MONTGOMERY WARD AND COMPANY, INC.
Record No. 841590
Supreme Court of Virginia
November 25, 1987
Robert E. Long (David N. Montague; Montague, Montague and Long, on brief), for appellant.
Richard B. Donaldson, Jr. (Jones, Blechman, Woltz &amp; Kelly, P.C., on brief), for appellee.
Present:  All the Justices
Judgment for defendant in a libel action alleging that defendant falsely represented that plaintiff owed it a sum of money is reversed and the case is remanded for a new trial.
A general district court had dismissed with prejudice a civil debt warrant by a store against an individual who became the plaintiff in this action.  The defendant company continued to press plaintiff for payment and placed the claim with a collection agency.  Plaintiff and his wife attempted to purchase a home but a credit check by the real estate agent showed that the company had given plaintiff the lowest rating, which rating prevented him from qualifying to purchase the home.  Plaintiff tried to have his rating changed without success and was therefore unable to buy the house of his choice.  He brought a libel action against the company.  In a jury trial the court struck plaintiff's evidence and entered judgment for the company.  The trial court held that because plaintiff's action was for libel per quod rather than for libel per se, plaintiff had the burden of showing "actual malice" and actual damages.  The court held that he had shown no damages.  Plaintiff appeals.
1.  On appeal the defendant concedes that in a libel action by a private plaintiff against a non-media defendant it is not necessary to show actual out of pocket damage in a non libel per se action, but a showing of loss of reputation and standing in the community, embarrassment, humiliation, and mental suffering will be sufficient for the award of damages.  Fleming  Moore, 221 Va. 884, 275 S.E.2d 632 (1981).
2.  The trial court based its finding of that there were no damages upon erroneous principles.
3.  This is not a proper case for application of the "right result, wrong reason" of the "right  result, wrong reason" rule because the court seems to have confined the decision to the ground of "no damages" rather than to any other.
4.  Not only has the damage question been decided upon erroneous principles but the liability question as well; the plaintiff is entitled to another day in court and to have his case tried according to correct principles.
Appeal from a judgment of the Circuit Court of the City of Hampton.  Hon. John D. Gray, judge presiding.
PER CURIAM.
This is an appeal in a libel action brought by Dennis L. Sateren against Montgomery Ward and Company, Inc.  In his motion for judgment, Sateren alleged an agent of Montgomery Ward had falsely represented that Sateren owed the company $921.83, causing him embarrassment, emotional distress, and financial loss, as well as damage to his credit and his standing in the community.  In a jury trial, the court struck Sateren's evidence and entered judgment for Montgomery Ward.
The libel action was filed on February 23, 1982.  On November 21, 1979, the General District Court of the City of Hampton had dismissed with prejudice a civil warrant brought by Montgomery Ward against Sateren seeking to recover $908.21 on open account. [1]
In the meantime, Montgomery Ward had continued to press Sateren for payment. It placed the claim with a collection agency "as a charge-off," meaning that the account was "noncollectible."
In 1981, Sateren and his wife decided to purchase a new home, and they selected one in the $56,000 to $58,000 price range.  The real estate agent handling the transaction "ran a credit check" on Sateren.  The credit agency's report showed that Montgomery Ward was still carrying a past due amount of $921 in Sateren's name, with a rating of "R-9." A legend accompanying the report defined an R-9 rating as a "[b]ad debt, placed for collection; suit; judgment; bankruptcy; skip." Testimony showed that an R-9 rating is "the lowest one" which can be assigned.
The report caused the real estate agent to advise Sateren he could not qualify for financing on his new home unless Montgomery Ward changed the rating. Sateren called on James R. Turner, Montgomery Ward's credit manager, and asked him to change the rating.  Turner refused.  The Saterens abandoned the purchase of the home they had selected and bought a less-expensive one with assumable financing.
In considering Montgomery Ward's motion to strike Sateren's evidence, the trial court stated that because Sateren's action was for libel per quod rather than libel per se, he had the burden of showing "actual malice . . . and . . . actual damages." The court held that Sateren had shown "no damages" and struck his evidence.
On appeal, Montgomery Ward correctly makes an important concession in light of our decision in Fleming  Moore, 221 Va. 884, 275 S.E.2d 632 (1981), a case involving, as here, a private plaintiff in a libel action against a non-media defendant.  Montgomery Ward agrees that "it is not necessary to show actual out of pocket damage in [a] non libel per se action" and that "a showing of loss of reputation and standing in the community, embarrassment, humiliation, and mental suffering will be sufficient for the award of damages." [2]
Thus, it is obvious that the trial court based its finding of "no damages" upon erroneous principles.  Montgomery Ward argues, however, that we can yet affirm the judgment by following the rule that "in a proper case, where the correct conclusion has been reached but the wrong reason given, [we will] sustain the result and assign the right ground." Robbins  Grimes, 211 Va. 97, 100, 175 S.E.2d 246, 248 (1970); Eason  Eason, 204 Va. 347, 352, 131 S.E.2d 280, 283 (1963).
We do not think, however, that this is a "proper case" for application of the "right result, wrong reason" rule.  While Montgomery Ward states that the trial court assigned several reasons for its decision other than the "no damages" basis, we read the court's opinion as confining the decision to that ground.
Furthermore, the opinion can as well be read as a rejection of any other basis for the decision, and, in that case, we could not consider another reason in the absence of a cross-assignment of error filed by Montgomery Ward. Finally, we are reluctant to follow the "right conclusion, wrong reason" rule here because not only has the damage question been decided upon erroneous principles but the liability question as well. upon erroneous principles  See n.2.  We think Sateren is entitled to another day in court and to have his case tried according to correct principles, win or lose.
Accordingly, we will reverse the judgment of the trial court and remand the case for a new trial on all issues.
Reversed and remanded.
Reversed and remanded.
NOTES
[1]  The difference between the $908.21 figure involved in the district court proceeding and the $921.83 amount involved in the libel action represents finance charges added by Montgomery Ward.
[2]  Montgomery Ward also concedes that in light of The Gazette  Harris, 229 Va. 1, 325 S.E.2d 713, cert. denied, 472 U.S. 1032 (1985), decided after the present case was decided below, Sateren, as a private plaintiff suing a non-media defendant, is not required to show actual malice but is entitled to recover upon a showing that Montgomery Ward published false information knowing it was false when published or, believing it to be true, lacked reasonable grounds for such belief.   229 Va. at 15, 325 S.E.2d at 724-25.  Gazette lists another ground for recovery, viz., that the defendant "acted negligently in failing to ascertain the facts on which the publication was based." Id.

